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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                              4:12-CR-3099

vs.
                                            FINAL ORDER OF FORFEITURE
AARON RAUL NUNEZ,

                  Defendant.

       This matter is before the Court on the plaintiff's Motion for Final Order
of Forfeiture (filing 109).
       On January 23, 2013, the Court entered a Preliminary Order of
Forfeiture (filing 62) pursuant to 21 U.S.C. § 853, based upon the defendant's
plea of guilty to conspiracy to distribute methamphetamine in violation of 21
U.S.C. § 846, and his admission of the forfeiture allegation contained in the
indictment. Filings 24, 48 and 60. By way of the preliminary order of
forfeiture, the defendant's interest in $6,242 in United States currency was
forfeited to the United States. Filing 62.
       As directed by the order, a Notice of Criminal Forfeiture was posted
beginning on January 29, 2013, on an official Internet government forfeiture
site, www.forfeiture.gov, for at least 30 consecutive days, as required by
Supp. Admiralty and Maritime Claims R. G(4)(a)(iii)(B). A Declaration of
Publication (filing 108) was filed on April 2, 2013. The Court has been
advised by the plaintiff that no petitions have been filed, and from a review of
the Court file, the Court finds no petitions have been filed.

      IT IS ORDERED:

      1.    The plaintiff=s Motion for Final Order of Forfeiture (filing
            109) is granted.

      2.    All right, title, and interest in and to the $6,242 in United
            States currency held by any person or entity are forever
            barred and foreclosed.

      3.    The currency is forfeited to the plaintiff.
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     4.    The plaintiff is directed to dispose of the currency in
           accordance with law.

     Dated this 3rd day of April, 2013.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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